Case 1:02-cV-01281-.]DB-tmp Document 32 Filed 07/08/05 Page 1 of 2 Pag§|/S 56

 
 

 

'}c) V?/ \Q
UNITED STA TES DISTRICT COURT , “‘<' 19 " \ _/,/j
WESTERN DISTRICT OF TENNESSEE;;_§_’ ._ <€»;'9 we
EASTERN DIVISION “/~"O”“§>/ ` dla
‘11!_ d [O\-{//_~
°///`c>ffj
DoNALI) GEoHAN, JUI)GMENT IN A cIvlL cAsI§
Plaintiff,
V.
coRRECTIoNS coRPoRATIoN CASE No; 1=02-1231-3
oF AMERICA, et al.,
Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND AD.]UDGED that in accordance With the Agreed Order ()f
Dismissal With Prejudice entered on July 6, 2005, this cause is hereby dismissed with prejudice.

  
   

TED STATES DISTRICT COURT

,[ nor moMAs M.Goul_o

Clerk of Court

C.M

(By) Deputy Clerk

 

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With Rule 58 and!or 79 (a) FF\‘CP on q _

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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
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ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

